
938 So.2d 78 (2006)
MSOF CORPORATION and Jay Paul Leblanc
v.
EXXON CORPORATION, Exxon Chemical Company, U.S.S. Chemical Company, Copolymer Rubber and Chemical Corporation, Uniroyal Corporation, Dow Chemical Company, Ethyl Corporation, Shell Chemical *79 Corporation, American Hoechst Co. (f/k/a Foster Grant Company), Allied Chemical Corporation, Rubicon Chemical Company, Petro Processors of Louisiana, Inc., Rollins Environmental Services (LA), Robert Bolger, J.W. Street, W.L. Rainey, NPC Services, Inc., and XYZ Insurance Company.
No. 2006-C-1669.
Supreme Court of Louisiana.
October 6, 2006.
Denied.
